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 AO 442 (Rev. 11/11) Arrest Warrant




                                               UNITED STATES DISTRICT COURT
                                                                                     for the

                                                                         District of Columbia

                      United States of America
                                  v.                                                   )
                                                                                               Case: 1:24-mj-00131
                                                                                       )
                           Lincoln Deming                                                      Assigned To : Judge Zia . faruqui
                                                                                       )
                                                                                       )       Assign. Date: 4/11 '2024
                                                                                       )       Description: COMPLAINT VI/ARREST luVARRANT
                                                                                       )
                                   Defendant


                                                                  ARREST WARRANT
To:        Any authorized law enforcement              officer


           YOU ARE COMMANDED                       to arrest and bring before a United States magistrate judge without unnecessary                                      delay
(name of person to be arrested)                                                                Lincoln Deming
who is accused of an offense or violation based on the following document                                filed with the court:

o Indictment         o Superseding Indictment     o Information      o Superseding Information                                                      N Complaint
o Probation Violation Petition     o Supervised Release Violation Petition    o Violation Notice                                                     0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C.     § 1752(a)(l) - Entering and Remaining in a Restricted Building or Grounds;
 18 U.S.c.     § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.C.     § 5104(e)(2)(B) - Entering and Remaining in the Gallery of Congress;
 40 U.S.C.     § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
 40 U.S.C. § S104(e)(2)(G) - Parading, Picketing,                  or Demonstrating            in a Capitol Building;
 18 U.S.C. § 231(a)(3) - Civil Disorder.
                                                                                                                                        Zia M. Faruqui
Date:            0411112024
                                                                                                                      Issuing officer's signature

City and state:                          Washington,   D.C.                                          Zia M. Farugui, U.S. Magistrate Judge
                                                                                                                        Printed name and title


                                                                                    Return

          This warrant was received on (date)                 (..11 l (I "2.. '-I          , and the person was arrested on (date)                   S 1 \ I 11. <:i
at (city and state)     ,{"      \.(.
                                        , M f."",,-
                                                                                           "OPt!{·(.cr       Lw.",~ .)A('l"\c-z.e~ (.A"'V'<c}I'~ ()lftlc.~lr)
Date:      s- t \ \ \ 1.   Ll"
                                                                                            S·w            L. -1(t1AA&
                                                                                                                    Arresting officer's signature


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                                                                                                                        Printed name and title             7
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                                   STATEMENT OF FACTS

        I,                , am a Special Agent with the Federal Bureau of Investigation and have
been a special agent for over 15 years. In my duties as a special agent, I investigation violations
of federal law. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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photograph, I believe the individual depicted in Images 1 and 2 is Lincoln Deming. As depicted
in those images, Deming is wearing a red t-shirt with a blue long-sleeve shirt underneath, gloves,
a red scarf, sunglasses, and, at times, a red knit hat with the word “Trump” on it.

       Lincoln Deming’s Activities on January 6, 2021

       By at least 1:38 p.m. on January 6, 2021, Deming was on the West Plaza of the U.S.
Capitol, where police officers had erected barricades made of interlocking metal bike racks to
prevent the crowd from advancing closer to the Capitol building. At that time, Deming was
wearing a gas mask and sunglasses:




                 Image 3: screenshot from body worn camera footage showing
                 Deming (circled in red) on the West Plaza of the U.S. Capitol

       Less than a minute later, Deming approached the line of officers and placed his hand on a
metal barricade:
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                Image 4: screenshot from body worn camera footage showing
    Deming (circled in red) grabbing a bike rack barricade with his hand (circled in green)


Deming then begins to pull on the barricade:




                 Image 5: screenshot from body worn camera footage showing
                    Deming (circled in red) pulling a bike rack barricade
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                 Image 6: screenshot from body worn camera footage showing
                    Deming (circled in red) pulling a bike rack barricade

Deming appears to fall near the barricade as police regain control of the barricade and pull the
barricade back into place:




     Image 7: screenshot from body worn camera footage showing Deming (circled in red)
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       As part of the investigation, I also reviewed open source video that shows Deming on the
West Plaza. An open source video (no longer available online) shows this incident from another
angle. The video first shows Deming near a line of officers on the West Plaza:




                          Image 8: screenshot from video 1 showing
                Deming (circled in red) near a line of officers on the West Plaza

The video shows Deming pull on a bike rack barricade in an apparent attempt to infiltrate the
police line and allow rioters to overtake the West Plaza:




1
    WASHINGTON DC INCIDENT LOTS OF RAW FOOTAGE, at 1:53.
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Deming approached the bike rack barricades and officers and noticed that two bike racks were not
interconnected. Deming put his hand on the bike rack. At the same time, a voice can be heard
asking if “I could just pull that? And open it up?”




                Image 14: screenshot from body worn camera footage showing
               Deming (circled in red) putting his hand on a bike rack barricade

       At approximately 2:07 p.m., Deming threw an object towards officers on the West Plaza:




                Image 15: screenshot from body worn camera footage showing
     Deming (circled in red) throwing an unknown object (circled in green) towards officers
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                     Image 18: screenshot from open source video 7 showing
          Deming (circled in red) walking away from the line of officers on the West Plaza


        Deming left the West Plaza and made his way up a set of stairs to the Upper West Terrace
at approximately 2:18 p.m.




7
    https://www.youtube.com/watch?v=9mt8YGpJ5vs&t=722s, at 11:59.
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                 Image 19: screenshot from Capitol security footage showing
        Deming (circled in red) making on a stairway leading to the Upper West Terrace

       Deming entered the Capitol through the Senate Wing Door at approximately 2:23 p.m.




  Image 20: screenshot from Capitol security footage showing Deming (circled in red) entering
   the Capitol through the Senate Wing Door at approximately 2:23 p.m. on January 6, 2021
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        Deming remained inside the Capitol for approximately 33 minutes. After entering the
building, he went up to the second floor and walked through the Rotunda. While walking through
the Rotunda, it appears as though Deming is holding a cellphone that is lit up which, based on my
training and experience, indicates he was using his cellphone while inside the Rotunda.




                 Image 21: screenshot from Capitol security footage showing
      Deming (circled in red) holding what appears to be a cellphone while in the Rotunda

        Deming then made his way to the third floor of the Capitol. In one hallway on the third
floor, Deming entered a room near the end of the hall (H331) for approximately 20 seconds.
Afterwards, he walked back down the hallway, stopping to take photographs.
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  Image 22: screenshot from Capitol security footage showing Deming (circled in red) holding
      what appears to be a cellphone while in a hallway on the third floor of the Capitol

Deming also attempted to open the door to another room (H326) before continuing.




                Image 23: screenshot from Capitol security footage showing
             Deming (circled in red) attempting to open a door inside the Capitol
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While on the third floor, Deming attempted to open two more locked doors, including the Dome
Bulfinch Door:




                 Image 24: screenshot from Capitol security footage showing
    Deming (circled in red) holding a cellphone before attempting to open two locked doors




                  Images 25 (left) and 26 (right): screenshots from Capitol
                 security footage showing Deming (circled in red) attempting
           to open two locked doors, including the Dome Bulfinch Door (Image 26)
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       Deming walked in the Senate Gallery hallway, opened a door to the Senate Gallery, and at
approximately 2:42 p.m., entered the Senate Gallery.




                 Image 27: screenshot from Capitol security footage showing
                 Deming (circled in red) opening a door to the Senate Gallery




                 Image 28: screenshot from Capitol security footage showing
                 Deming (circled in red) opening a door to the Senate Gallery
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       Deming exited the Senate Gallery trough a door on the west side of the Senate Gallery.
While in the Senate Gallery West hallway, he opened a cabinet and removed a red and white
megaphone:




   Images 29 (left) and 30 (right): screenshots from Capitol security footage showing Deming
      (circled in red) opening a cabinet (Image 29) and carrying a megaphone (Image 30)

Deming returned to the Senate Gallery hallway where he looked through items that were on the
floor and placed the megaphone and other items into a duffel bag.
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                Image 31: screenshot from Capitol security footage showing Deming
   (circled in red) holding something he picked up from the floor of the Senate Gallery hallway

Deming then carried the duffel bag through the Senate Gallery hallway.




              Image 32: screenshot from Capitol security footage showing Deming
            (circled in red) carrying a black duffel bag in the Senate Gallery hallway
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Deming then placed the duffel bag down the Senate Gallery West hallway before reentering the
Senate Gallery. Based on my review of CCTV footage of the area, Deming did not return to
collect the bag.




              Image 33: screenshot from Capitol security footage showing Deming
       (circled in red) setting down a black duffel bag in the Senate Gallery West hallway

       After leaving the Senate Gallery (again), Deming made his way back to the second floor
of the Capitol building. Deming stood at the bottom of the Gallery Stairs, near the Columbus
Doors, while using his cellphone and showing other rioters something on his phone.
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       Deming exited the Capitol through the Rotunda Doors at approximately 2:56 p.m.




                       Image 36: screenshot from Capitol security footage
                       showing Deming (circled in red) exiting the Capitol

         Based on the foregoing, I submit that there is probable cause to believe that Lincoln
Deming violated 18 U.S.C. § 1752(a)(1), and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        I submit there is also probable cause to believe that Lincoln Deming violated 40 U.S.C.
§ 5104(e)(2)(B), (D), and (G), which makes it a crime to willfully and knowingly (B) enter or
remain in the gallery of either House of Congress in violation of rules governing admission to the
gallery adopted by that House or pursuant to an authorization given by that House; (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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                              Complaint Synopsis

Name:                              Lincoln Deming

Address:                           Kittery, Maine
(City & State Only)
Year of Birth and Age:             1979, 44 years old

Violations:                        Count 1: Entering and Remaining in a Restricted
                                   Building or Grounds. See 18 U.S.C. § 1752(a)(1).
                                   This is a Class A misdemeanor. See 18 U.S.C. §
                                   3559(a)(6).

                                   Count 2: Disorderly and Disruptive Conduct in a
                                   Restricted Building or Grounds. See 18 U.S.C. §
                                   1752(a)(2). This is a Class A misdemeanor. See 18
                                   U.S.C. § 3559(a)(6).

                                   Count 3: Entering and Remaining in the Gallery of
                                   Congress. See 40 U.S.C. § 5104(e)(2)(B). This is a
                                   Class B misdemeanor. See 18 U.S.C. § 3559(a)(7).

                                   Count 4: Disorderly Conduct in a Capitol
                                   Building. See 40 U.S.C. § 5104(e)(2)(D). This is a
                                   Class B misdemeanor. See 18 U.S.C. § 3559(a)(7).

                                   Count 5: Parading, Picketing, and Demonstrating
                                   in a Capitol Building. See 40 U.S.C. §
                                   5104(e)(2)(G). This is a Class B misdemeanor. See
                                   18 U.S.C. § 3559(a)(7).

                                   Count 6: Civil Disorder. See 18 U.S.C. § 231(a)(3).
                                   This is a Class D felony. See 18 U.S.C. § 3559(a)(5).

Penalties:                         Counts 1-2: Not more than 1 year of
                                   imprisonment, a fine of $100,000, or both. See 18
                                   U.S.C. §§ 1752(a), 1752(b)(2), and 3571(b)(5).

                                   Counts 3-5: Not more than 6 months of
                                   imprisonment, a fine of $5,000, or both. See 40
                                   U.S.C. § 5109(b) and 18 U.S.C. § 3571(b)(6).

                                   Count 6: Not more than 5 years of imprisonment,
                                   a fine of $250,000, or both. See 18 U.S.C. §§
                                   231(a), and 3571(b)(3).
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Supervised Release:                Counts 1-2: Not more than 1 year. See 18 U.S.C. §
                                   3583(b)(3).

                                   Count 6: Not more than 3 years. See 18 U.S.C. §
                                   3583(b)(2).

                                   *Counts 1-5: May result in not more than 5 years
                                   of probation. See 18 U.S.C. § 3561(c)(2).

                                   *Counts 6: May result in not less than 1 year of
                                   probation and not more than more than 5 years of
                                   probation. See 18 U.S.C. § 3561(c)(1).

Maximum Term of Imprisonment Counts 1-2: Not more than 1 year of
for Violation of Supervised  imprisonment. See 18 U.S.C. § 3583(e).
Release:
                             Count 6: Not more than 2 years of imprisonment.
                             See 18 U.S.C. § 3583(e)(3).

Maximum Add’l Term of              Counts 1-2: Not more than 1 year, less any term of
Supervised Release for Violation   imprisonment imposed upon revocation. See 18
of Supervised Release:             U.S.C. § 3583(h).

                                   Count 6: Not more than 3 years, less any term of
                                   imprisonment imposed upon revocation. See 18
                                   U.S.C. § 3583(h).

Defendant’s Attorney:              N/A

Primary Investigative Agency and   FBI
Case Agent Name:

Detention Status:                  Arrest Warrant issued. Defendant in federal
                                   custody.
Foreign National:                  No

Foreign Consular Notification      N/A
Provided:
County:                            Offense occurred in Washington, D.C.

AUSA:                              Peter I. Brostowin (local AUSA covering initial
                                   appearance)
Guidelines apply? Y/N              Yes

Victim Case:                       No
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Corporate Victims Owed            No
Restitution?

Assessments:                      Counts 1-2: $25 per count. See 18 U.S.C. §
                                  3013(a)(1)(A)(iii).

                                  Counts 3-5: $10 per count. See 18 U.S.C. §
                                  3013(a)(1)(A)(ii).

                                  Count 6: $100 per count. See 18 U.S.C. §
                                  3013(a)(2)(A).
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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                               District
                                                       __________       of Maine
                                                                  District of __________

                   United States of America                                    )
                              v.                                               )       Case No. 2:24-mj-158-KFW
                                                                               )
                         Lincoln Deming                                        )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:24-mj-131-ZMF-1


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: United States District Court                                                    Courtroom No.: by video
         District of Columbia
                                                                                       Date and Time: 5/23/2024 12:30 pm

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:            05/13/2024                                                                            /s/ Karen Frink Wolf
                                                                                                           Judge’s signature

                                                                                         Karen Frink Wolf, U.S. Magistrate Judge
                                                                                                        Printed name and title
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                         Query    Reports   Utilities   Help    What's New    Log Out

                                                                                             CLOSED

                              U.S. District Court
                         District of Maine (Portland)
         CRIMINAL DOCKET FOR CASE #: 2:24-mj-00158-KFW All Defendants


Case title: USA v. DEMING                                      Date Filed: 05/13/2024

                                                               Date Terminated: 05/13/2024


Assigned to: MAGISTRATE JUDGE
KAREN FRINK WOLF

Defendant (1)
LINCOLN DEMING                                 represented by DAVID R. BENEMAN
TERMINATED: 05/13/2024                                        FEDERAL DEFENDER'S OFFICE
                                                              P.O. BOX 595
                                                              PORTLAND, ME 04112-0595
                                                              207-553-7070 ext. 101
                                                              Fax: 207-553-7017
                                                              Email: David.Beneman@fd.org
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Public Defender or
                                                              Community Defender Appointment

Pending Counts                                                 Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                              Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                     Disposition
COUNT 1: ENTERING AND REMAIING
IN RESTRICTED BUILDING OR
GROUNDS, 18:1752(a)(1); COUNT 2:
DISORDERLY AND DISRUPTIVE
CONDUCT IN A RESTRICTED
             Case 1:24-mj-00131-ZMF Document 6 Filed 05/13/24 Page 38 of 39
BUIDLING OR GROUNDS, 18:1752(a)(2);
COUNT 3: ENTERING AND
REMAINING IN THE GALLERY OF
CONGRESS, 40:5104(e)(2)(B); COUNT 4:
DISORDERLY CONDUCT IN A CAPITAL
BUILDING, 40:5104(e)(2)(D); COUNT 5:
PARADING, PICKETING, OR
DEMONSTRATING IN A CAPITOL
BUILDING, 40:5104(e)(2)(G); COUNT 6:
CIVIL DISORDER, 18:231(a)(3)



Interested Party
DISTRICT OF COLUMBIA



Plaintiff
USA                                                  represented by PETER I. BROSTOWIN
                                                                    DOJ-USAO
                                                                    100 MIDDLE STREET
                                                                    EAST TOWER, 6TH FLOOR
                                                                    PORTLAND, ME 04101
                                                                    207-780-3257
                                                                    Email: peter.brostowin@usdoj.gov
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Assistant US Attorney
Email All Attorneys
Email All Attorneys and Additional Recipients


Date Filed         #   Docket Text
05/13/2024             Arrest (Rule 5) of LINCOLN DEMING (slg) (Entered: 05/13/2024)
05/13/2024         1 Rule 5(c)(3) Documents Received as to LINCOLN DEMING Main Document: DC Docket
                     Sheet (Attachments: # 1 Complaint, # 2 Statement of Facts, # 3 Arrest Warrant, # 4 York
                     PD reports)(slg) (Entered: 05/13/2024)
05/13/2024         2 SYNOPSIS as to LINCOLN DEMING (slg) (Entered: 05/13/2024)
05/13/2024         3 NOTICE OF HEARING as to LINCOLN DEMING. Rule 5 Hearing and Attorney
                     Appointment Hearing set for 5/13/2024 03:30 PM in Portland Hearing Room before
                     MAGISTRATE JUDGE KAREN FRINK WOLF. (slg) (Entered: 05/13/2024)
05/13/2024         4 Minute Entry for proceedings held before MAGISTRATE JUDGE KAREN FRINK
                     WOLF: Rule 5 Hearing held as to LINCOLN DEMING; Defendant advised of rights.
                     Federal Public Defender Appointed: DAVID R. BENEMAN, Bond Hearing held as to
                     LINCOLN DEMING, Bond set as to LINCOLN DEMING (1) $10,000.00 Unsecured,
                     Unsecured Bond Made by LINCOLN DEMING in amount of $10,000.00 and order setting
                     conditions of release issued. Defendant ordered released after processing and to appear in
                     charging district. (Court Reporter: Lori Dunbar) (nrg) (Entered: 05/13/2024)
             Case 1:24-mj-00131-ZMF Document 6 Filed 05/13/24 Page 39 of 39
05/13/2024    5 Financial Affidavit by LINCOLN DEMING (Access to document is restricted to USA and
                applicable defendant only) (nrg) (Entered: 05/13/2024)
05/13/2024    6 ORAL ORDER approving 5 Financial Affidavit as to LINCOLN DEMING (1) By
                MAGISTRATE JUDGE KAREN FRINK WOLF. (nrg) (Entered: 05/13/2024)
05/13/2024    7 WAIVER of Rule 5 Hearings by LINCOLN DEMING (nrg) (Entered: 05/13/2024)
05/13/2024    8 ORDER as to LINCOLN DEMING: Pursuant to the Due Process Protection Act,
                Pub.L.No. 116-182, 134 Stat. 894 (Oct. 21,2020) and Rule 5(f) of the Federal Rules of
                Criminal Procedure, the United States is reminded of its obligation to disclose in a timely
                manner all exculpatory evidence to the defendant, that is, all evidence that is favorable to
                the defendant or tends to cast doubt on the United States' case, as required by Brady v.
                Maryland 383 U.S. 83 (1963) and its progeny. Failure to comply with this order may result
                in consequences, including, but not limited to, the reversal of any conviction, the exclusion
                of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,
                disciplinary action, and/or sanctions by the Court. So Ordered. By MAGISTRATE JUDGE
                KAREN FRINK WOLF. (nrg) (Entered: 05/13/2024)
05/13/2024    9 Appearance Bond ( Unsecured ) as to LINCOLN DEMING. (nrg) (Entered: 05/13/2024)
05/13/2024   10 ORDER Setting Conditions of Release as to LINCOLN DEMING. By MAGISTRATE
                JUDGE KAREN FRINK WOLF. (nrg) (Entered: 05/13/2024)
05/13/2024   11 ORDER Requiring a Defendant to Appear as to LINCOLN DEMING By MAGISTRATE
                JUDGE KAREN FRINK WOLF. (nrg) (Entered: 05/13/2024)
05/13/2024       Notice to District of Columbia 1:24-mj-131-ZMF of a Rule 5 or 32 Initial Appearance
                 hearing as to LINCOLN DEMING. Using your PACER account, please retrieve the docket
                 sheet and any other necessary documents. All restricted access documents will be sent via
                 email. If you require certified copies of any documents please send a request to
                 ecfhelp@med.uscourts.gov. (nrg) (Entered: 05/13/2024)
